      Case 2:13-cr-00300-GEB Document 425 Filed 06/29/18 Page 1 of 3


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3                             UNITED STATES DISTRICT COURT

4                          EASTERN DISTRICT OF CALIFORNIA

5

6    UNITED STATES OF AMERICA,              No.    2:13-cr-300-GEB
7                      Plaintiff,           ORDER DENYING DEFENDANT RICHARD
                                            HEMSLEY’S MOTIONS FOR REPLEVIN,
8           v.                              FOR ENFORCEMENT OF HIS PRETRIAL
                                            DETAINEE RIGHTS, AND FOR
9    JOHN MAHAN, ET AL.,                    DISMISSAL OF THE INDICMENT ON
                                            DOUBLE JEOPARDY GROUNDS
10                     Defendants.
11

12               Defendant Richard David Hemsley (“Defendant”) filed a

13   motion for “a personal replevin in the name of Justice, a fortiori

14   Demurrer to Quash all allegations of criminal activity against the

15   Defendants, abrogating the unethical actions of the accusers.”

16   Mot. for Replevin 1:19–22, ECF No. 420.             The United States of

17   America (the “Government”) opposes this motion arguing, inter alia,

18   that an action for replevin is a civil action “and has no place in

19   an ongoing criminal prosecution.”          Opp’n to Mots. (“Opp’n”) 3:16–

20   17, ECF No. 423.          The Government is correct.        Therefore, this

21   motion is denied.

22               Defendant also filed a motion seeking “to actuate the

23   constitutionally guaranteed rights of a pretrial detainee as if he

24   were at home.”      Mot. for Enf’t of Pretrial Detainee’s Rights 1:26–

25   30,   ECF   No.   421.     Specifically,     Defendant   requests   a   “fully

26   stocked” library, “computers to view video footage from discovery

27   evidence,” and more “access to phones.”             Id. at 2:26–3:18. The

28   Government opposes the motion arguing, inter alia, that Defendant
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      Case 2:13-cr-00300-GEB Document 425 Filed 06/29/18 Page 2 of 3


1    “has not set forth any specific facts that establish a cognizable

2    denial of access to communication facilities or legal materials that

3    would unfairly prejudice him.”        Opp’n 6:25–26.      The Government

4    further agues, “[e]ven if Hemsley were to articulate a specific

5    grievance, for example, lack of access to a particular witness,

6    legal materials, or other resource, this Court has given him a

7    tremendous aid in the form of investigator Serna to contact any

8    witnesses, obtain any legal materials, or provide other reasonable,

9    needed assistance if his pretrial detention conditions hamper the

10   preparation of his defense.”      Id. at 6:26–7:2.

11              Defendant’s conclusory arguments do not evince that he

12   has insufficient resources to prepare a defense.           Therefore, the

13   motion is denied.

14              Defendant also moves for dismissal of the indictment

15   arguing the “Double Jeopardy Clause was in fact activated at the

16   onset of the initial invitation to sign a Plea Deal for 15 months

17   in September 2017.”     Mot. to Dismiss 5:25–28, ECF No. 422.         The

18   Government counters that double jeopardy does not apply to a

19   “retrial after the Court’s declaration of a mistrial due to the

20   jury’s inability to reach a unanimous verdict,” nor to “continued
21   pretrial detention” or to the “seizure of certain evidence.”        Opp’n

22   7:18–21.

23              Defendant has not shown that he is entitled to dismissal

24   based on his double jeopardy arguments. Therefore, the motion is

25   denied.

26              Dated:   June 28, 2018
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